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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AURORA MILITARY HOUSING,               )
 LLC, et al.,                           )
                                        )
              Plaintiffs,               )            No. 21-2182
                                        )            (Senior Judge Horn)
v.                                      )
                                        )
THE UNITED STATES,                      )
                                        )
              Defendant.                )

                            DEFENDANT’S MOTION TO DISMISS


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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AURORA MILITARY HOUSING,                      )
 LLC, et al.,                                  )
                                               )
                Plaintiffs,                    )              No. 21-2182
                                               )              (Senior Judge Horn)
v.                                             )
                                               )
THE UNITED STATES,                             )
                                               )
                Defendant.                     )

                              DEFENDANT’S MOTION TO DISMISS

       Pursuant to Rule 12(b)(6) of the Rules of the United States Court of Federal Claims

(RCFC), defendant, the United States, respectfully requests that the Court dismiss the complaint

of plaintiffs Aurora Military Housing, LLC (Aurora I), Aurora Military Housing II, LLC (Aurora

II), and Aurora Military Housing III, LLC (Aurora III) (collectively, Aurora) for failure to state a

claim upon which relief can be granted. In support of this motion, we rely upon the complaint,

our attached appendix of exhibits, and the following brief.

                                        INTRODUCTION

       This case arises out of the Military Housing Privatization Initiative (MHPI), a

Department of Defense (DoD) program that grants the military departments the authority to

convey and lease property and facilities to private entities who are then responsible for providing

and maintaining military housing for the benefit of service members and their families. Under

the MHPI, Aurora and the Air Force, also acting on behalf of the Army, entered into three Lease

Agreements governing three phases of the construction and renovation of property located on

what is now known as Joint Base Elmendorf-Richardson (JBER) in Anchorage, Alaska. Those

Lease Agreements include: Aurora I, entered into on March 14–15, 2001, and amended

December 13, 2005 (Aurora I Amended Lease); Aurora II, entered into on September 30, 2004,

                                                   1
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and amended December 13, 2005 (Aurora II Amended Lease); and Aurora III, entered into on

June 30, 2011 (Aurora III Lease) (collectively, Lease Agreements). Generally, the Air Force

leased its then existing inventory of military family housing and the land upon which that

housing was located to Aurora. In turn, Aurora is now responsible for, among other things, the

ownership, operation, and maintenance of on-base rental housing.

       Pursuant to the Lease Agreements, Aurora earns revenues on its projects through tenant

rent paid primarily by service members directly to Aurora. Service members’ rent is based on

their Basic Allowance for Housing (BAH), which is a United States based allowance prescribed

by geographic duty location, pay grade, and dependency status. Aurora raises three counts in its

complaint, all of which are based on statutory changes in how service members’ BAH is

calculated under 37 U.S.C. § 403. Primarily, Aurora claims that the statutory changes affected

its expectation interest in the Lease Agreements, and thus constitutes a breach of contract.

       However, the Lease Agreements’ plain language make clear that the Government is not

responsible for making tenant rent payments to Aurora, and that Aurora agreed to cap the tenant

rent it can charge service members based on their actual BAH.      The Lease Agreements also do

not guarantee occupancy of the housing units, and recognize that tenant rent fluctuates annually

and based on each tenant’s pay grade. Nonetheless, Aurora now attempts to read in a new

contract term regarding the method of calculating BAH.      In reality, however, Aurora got exactly

what it bargained for.

       In exchange for obtaining a 50-year lease of Government property for a one-dollar

nominal fee, Aurora also agreed to operate and manage housing for service members, subject to

the Lease Agreements’ numerous terms and conditions—terms specifically designed to protect

service members and the Government from the claims being advanced here. Accordingly, the


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Court should dismiss the complaint for failure to state a claim upon which relief can be granted.

                                  STATEMENT OF THE ISSUE

       Whether Aurora can establish entitlement to higher military housing tenant rent under its

Lease Agreements with the Air Force when the Government is expressly not liable for any

payments to Aurora, and when the Lease Agreements capped monthly tenant rent to the BAH

actually received by each service member.

                                    STATEMENT OF FACTS

 I.     The Military Housing Privatization Initiative And The Lease Agreements

       Congress established the MHPI in 1996 by granting DoD authority to work with the

private sector to build, renovate, and maintain military housing. National Defense Authorization

Act for Fiscal Year 1996, Pub. L. No. 104-106, § 2801, 110 Stat 186, codified at 10 U.S.C.

§§ 2871-2885. The MHPI was designed to help the military enhance service members’ quality

of life by improving their housing conditions with the support of private sector financing,

expertise, and innovation. See Office of the Assistant Secretary of Defense for Sustainment,

Facilities Management – Military Housing Privatization Initiative, https://www.acq.osd.mil/eie/

FIM/Housing/Housing_index.html (last visited Feb. 11, 2022). The MHPI also allowed the

military to provide necessary housing faster and more efficiently than traditional military

construction processes. See id.

       More specifically, the MHPI was designed to address two significant problems

concerning housing for service members and their families: (1) the poor condition of DoD owned

housing; and (2) a shortage of quality, affordable, private housing. Id. The Office of the

Secretary of Defense delegated authority to each military branch to enter into agreements with

private developers to own, maintain, and operate family housing via a 50-year lease.     Id.


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        As part of the MHPI, Aurora and the Air Force, also acting on behalf of the Army,

entered into the Lease Agreements, coinciding with three construction and renovation phases at

Elmendorf Air Force Base (Elmendorf)/JBER. The Government and Aurora I executed the first

agreement on March 14, 2001, and March 15, 2001, with the goal of privatizing 828 military

family housing units at Elmendorf. 1 Compl. ¶¶ 23, 30; Aurora I Amended Lease at 1

(Defendant’s Appendix). 2 The 50-year agreement is effective from March 16, 2001, to March

31, 2051. Aurora I Amended Lease ¶ 1.1. The Government and Aurora II entered the second

agreement on September 30, 2004, with the goal of privatizing 1,194 military family housing

units at Elmendorf. Compl. ¶¶ 37, 44; Aurora II Amended Lease at 1. The 50-year agreement

is effective from October 1, 2004, to September 30, 2054. 3 Aurora II Amended Lease ¶¶ 1.1–

1.3. The Government and Aurora III executed the third agreement on June 30, 2011, with the

goal of privatizing over 1,000 military family housing units at what is now JBER. Compl.

¶¶ 52, 59; Aurora III Lease at 1. The 50-year agreement is effective from July 1, 2011, to June

30, 2061. Aurora III Lease ¶ 1.1.

        Under the Lease Agreements, the Air Force has leased land located at JBER to Aurora

and also transferred ownership interest in housing units for purposes of demolition, design,

construction, renovation, and operation and maintenance of rental housing. Compl. ¶¶ 24, 45,



        1
         The factual allegations recited herein from the complaint are taken as true for purposes of this motion to
dismiss only. Should the Court deny this motion, we reserve the right to contest every factual allegation in the
complaint.
        2
         It is well established that when considering whether to dismiss an action for failure to state a claim,
“courts may look outside the complaint and ‘consider matters incorporated by reference or integral to the claim.’”
Bowers Inv. Co., LLC v. United States, 104 Fed. Cl. 246, 258 (2011), aff’d, 695 F.3d 1380 (Fed. Cir. 2012);
Proxtronics Dosimetry, LLC v. United States, 128 Fed. Cl. 656, 662 n.1 (2016). Here, the attached Lease
Agreements and incorporated Operating Agreement are central to Auroras’ claims and resolving the legal issue. We
can provide complete versions of these documents at the Court’s request.
        3
          On December 13, 2005, the Aurora I and Aurora II agreements were amended, allowing Aurora to
refinance existing debt. Compl. ¶¶ 49–51.
                                                         4
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60. Aurora paid the Government a one-dollar nominal fee for each 50-year lease. Aurora I

Amended Lease ¶ 4.1; Aurora II Amended Lease ¶ 4.1; Aurora III Lease ¶ 4.1.

         The Lease Agreements incorporate an “Operating Agreement,” which identifies “detailed

procedures and requirements” Aurora must follow in constructing, renovating, operating, and

maintaining the leased premises. Aurora I Amended Lease ¶ 5.1; Aurora II Amended Lease

¶ 5.1; Aurora III Lease ¶ 5.1. Aurora must also operate the project in accordance with several

different plans included as attachments to the Operating Agreement, several of which are

pertinent to the claims here. Aurora I Amended Lease ¶ 5.2; Aurora II Amended Lease ¶ 5.2;

Aurora III Lease ¶ 5.2.

         The Lease Agreements make clear that service members and key and essential personnel,

and their families, referred to as “Referral Tenants” or “Target Tenants,” are the intended tenants

of the housing units, and their housing leases shall be in accordance with the Operating

Agreement’s Unit Occupancy Plan and the Rental Rate Management Plan. See, e.g., Aurora I

Amended Lease ¶ 19.5 (defining “Referral Tenant[s]”); Aurora III Lease ¶ 34.2 (defining

“Target Tenant[s]”). 4 However, the Lease Agreements also state that the Government does

not guarantee occupancy of privatized housing by service members or anyone else.

Specifically, the Aurora I and Aurora II Amended Leases state that “the Government is not

guaranteeing the occupancy of any Housing Units” or “requir[ing] military personnel and

dependents stationed at Elmendorf AFB or elsewhere to rent Housing Units,” as “[m]ilitary




         4
          Aurora may also offer housing to “Other Eligible Tenants” when vacancy rates fall below 95 percent.
This means any tenant other than a Referral or Target Tenant, which includes other active duty service members,
National Guard and Reserve members, Federal Civil Service employees, and more. See, e.g., Aurora II Unit
Occupancy Plan at 6; Aurora III Unit Occupancy Plan at 3–4. The specified vacancy rate has been updated since to
98 percent. See Air Force Instruction 32-6000, Civil Engineering, Housing Management, ¶ 6.12.2 (Mar. 18, 2020),
available at https://static.e-publishing.af.mil/production/1/af_a4/publication/afi32-6000/afi32-6000.pdf (last visited
Feb. 14, 2022).
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personnel are free to go elsewhere if they choose to do so.” Aurora I Amended Lease ¶ 19.4;

Aurora II Amended Lease ¶ 19.4. Relatedly, the Aurora III Lease states that “[Aurora]

acknowledges and agrees” that service members “do not have an obligation to reside in

privatized housing,” that “the Government does not require or guarantee occupancy of privatized

housing” by service members, and that “the Government does not guarantee occupancy of the

units.” Aurora III Lease ¶ 19.4.

       Aurora must operate and maintain the rental housing development on JBER “at its sole

cost and expense.” Aurora I Amended Lease ¶ 19.3; Aurora II Amended Lease ¶ 19.3; Aurora

III Lease ¶ 19.3 (emphasis added). Likewise, per the Operating Agreements, Aurora “shall

operate and maintain [the housing] at no expense to the Government.” Aurora I Operating

Agreement ¶ 2(b); Aurora II Operating Agreement ¶ 2(b) (emphasis added). Instead, Aurora

“shall collect from tenants all rents, damage deposits, and other fees that are permissible under

the Lease.” Id. “The Government shall have no liability for costs associated with the operation

and maintenance of the [housing], or for any tenant defaults.” Id. (emphasis added).

       With respect to the housing landlord-tenant leases between Aurora and service members,

Aurora agreed to cap the amount of rent it can charge service members to lease the housing units

based on each service member’s BAH. Compl. ¶¶ 25, 39, 53. This is known as “Referral Rent”

under the Aurora I and Aurora II Amended Leases, which means:

               with respect to a Referral Tenant an amount equal to (i) the
               tenant’s monthly BAH, at the with dependent rate (provided
               however, that if two military members reside in the same housing
               unit, the ‘with dependent’ BAH for the highest ranking members
               shall be used, and further provided that the ‘without dependent’
               rate shall be used for certain unaccompanied key and essential
               members as provided in the Rental Rate Management Plan) less
               (ii) the then applicable Estimated Utility Costs for such Housing
               Unit; provided, however, that there shall be no deduction of
               Estimated Utility Costs from the rents charged to Referral Tenants

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                 until the first day of the first month immediately following the
                 Completion Date. It is understood and agreed that the Lessee shall
                 be responsible for payment of all Utility Costs relating to all
                 Housing Units in the Project prior to the Completion Date and
                 following the Completion Date for all Housing Units to the extent
                 not separately metered.

Aurora I Amended Lease ¶ 19.5; Aurora II Amended Lease ¶ 19.5 (emphasis in original).

Similarly, the Aurora III Lease defines “Target Rent” as:

                 (a) with respect to each Target Tenant who is an active duty
                 member of the Uniformed Services, such tenant’s monthly BAH at
                 the ‘with depend[e]nt’ rate less an amount sufficient to cover 110%
                 of the average utility cost if such deduction is required pursuant to
                 the Operating Agreement; and (b) with respect to each Target
                 Tenant who has been designated by the Government as ‘Key and
                 Essential,’ and is either single or unaccompanied, an amount equal
                 to the BAH at the ‘without dependent’ rate for the Tenant’s pay
                 grade less an amount sufficient to cover 110% of the average
                 utility cost if such deduction is required pursuant to the Operating
                 Agreement.

Aurora III Lease ¶ 34.11. In turn, the Aurora I and Aurora II Amended Leases define BAH as

“the sum allotted to each service member to cover the cost of housing, including utilities and

personal property insurance. The respective amount corresponds with the service member’s rank

and dependent status. Refer to Internet web site http://www.dtic.mil/perdiem/bah.html for

additional information.” Aurora I Amended Lease ¶ 19.5; Aurora II Amended Lease ¶ 19.5.

The Aurora III Lease, at paragraph 34.2, has a similar BAH definition:

                 [W]ith respect to an active duty member of the Uniformed
                 Services, the entitlement of such member for the cost of housing,
                 including utilities and personal property insurance, pursuant to 37
                 U.S.C. Chapter 7, Section 403. Such amount corresponds to such
                 service member’s Pay Grade and dependent status. These values
                 are set annually by the Department of Defense and published on
                 the website www.dtic.mil. 5



        5
         Although the Lease Agreements reference the www.dtic.mil website, the BAH rates are currently
published by the Defense Travel Management Office, available at https://www.defensetravel.dod.mil/site/bah.cfm.
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       The Lease Agreements notify Aurora that the DoD modifies BAH annually. Notably, the

BAH definition in the Aurora III Lease includes this notice. See id. The Rental Rate

Management Plan, incorporated in the Aurora I and Aurora II Amended Leases, likewise

explains the annual changes in BAH, in addition to identifying other impacts on housing unit

rent that coincide with changes affecting service members:

               Rental Rates for the subject properties will change as BAH
               changes or as promotions or demotions occur. The website at
               www.dtic.mil/perdiem/bah.html is monitored for changes in the
               BAH rates. The rental rate is immediately modified to reflect
               changes in the BAH information. Rental rates for individual units
               also change based on promotions/demotions of the residents. The
               HMO provides a monthly list of promotes/demotes. Again, rental
               rates are updated immediately upon receipt of new information and
               lease files are revised to reflect the new information.

Aurora II Rental Rate Management Plan at 3; see also Aurora I Rental Rate Management Plan at

1 (also stating that “[r]ental rates for the subject properties will change as BAH changes” and

based upon “promotions/demotions of tenants”). The rental plans reiterate that “[c]hanges in

individual unit rents” are “based on BAH and tenant rank changes” and are adjusted regularly.

Aurora I Rental Rate Management Plan at 1; Aurora II Rental Rate Management Plan at 3.

       The Lease Agreements also include a Government-approved Military Resident Lease for

tenants who are active duty service members, and each tenant is required to sign a tenant lease

prior to occupancy. Aurora I Amended Lease, ¶ 19.6; Aurora II Amended Lease ¶ 19.6; Aurora

III Lease ¶ 19.6. The approved Military Resident Lease mirrors Referral and Target Rent

provisions in the Lease Agreements and Operating Agreement regarding the amount of rent

Aurora can charge. Specifically, the Military Resident Lease provides that each “[t]enant agrees

to pay as rent an amount equal to the ranking military member of the household’s Basic

Allowance for Housing at the dependents rate (BAH). Rent shall be paid by allotment.” Aurora


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I Military Resident Lease at 2; Aurora II Military Resident Lease at 2; Aurora III Military

Resident Lease at 2 (emphasis added). The resident leases require, among other things, that

tenants “execute a Special Power of Attorney allowing [Aurora] to initiate and modify allotments

to comply with provisions of [the] [a]greement,” to include the power to “[m]odify the allotment

to reflect annual changes in BAH rates.” Id. (emphasis added).

 II.    The BAH Statute And NDAA Payments

       Although the Lease Agreements provide a general background definition of BAH, 37

U.S.C. § 403 sets forth specific details on different categories of BAH, which are generally based

on geographic duty location, pay grade, and dependency status. Section 403 also sets forth the

method by which BAH will be calculated. From October 2000 to 2014, the BAH statute

generally required the Secretary of Defense to determine the costs of adequate housing in a

military housing area for all members of the uniformed services based on “the costs of adequate

housing for civilians with comparable income levels in the same area” and historical data

regarding the national average monthly housing costs for the two preceding years. See 37 U.S.C

§ 403 (2000-2014).

       In the 2015 National Defense Authorization Act (NDAA), Congress amended the BAH

statute, authorizing the Secretary of Defense to implement a percentage-based reduction of BAH

not to exceed one percent. 37 U.S.C. § 403 (Dec. 14, 2014–Nov. 24, 2015); Joint Explanatory

Statement To Accompany The National Defense Authorization Act For Fiscal Year 2015,

Modification Of Computation Of Basic Allowance For Housing Inside The United States (sec.

604), at 86–87, available at https://www.armed-services.senate.gov/imo/media/doc/113-S1847-

JES.pdf (noting DoD proposed changes to BAH and budgetary concerns to maintain Armed

Forces readiness). Pursuant to the exercise of that discretion, beginning in FY 2015, the BAH


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was determined for any given area of the country based on the costs of adequate housing for

civilians with comparable income levels in the same area with a reduction, not to exceed one

percent, based on national average monthly cost of adequate housing. In FY 2016, the BAH

statute was again amended to allow for percentage-based reductions over the next several years.

See National Defense Authorization Act For Fiscal Year 2016, Pub. L. 114-92, § 603, Nov. 25,

2015, 129 Stat 726 (NDAA 2016). Thus, since 2016, in its current and relevant form, the BAH

statute states:

                  (A) The monthly amount of the basic allowance for housing for an
                  area of the United States for a member of a uniformed service shall
                  be the amount equal to the difference between-
                          (i) The amount of the monthly cost of adequate housing
                          in that area, as determined by the Secretary of Defense,
                          for members of the uniformed services serving in the
                          same paygrade and with the same dependency status as
                          the member, and
                          (ii) The amount equal to a specified percentage
                          (determined under subparagraph (B)) of the national
                          average monthly cost of adequate housing in the United
                          States, as determined by the Secretary, for members of the
                          uniformed services serving in the same pay grade and
                          same dependency status as the member.
                  (B) The percentage to be used for purposes of subparagraph (A)(ii)
                  shall be determined by the Secretary of Defense and may not
                  exceed the following:
                          (i) One percent for months occurring during 2015.
                          (ii) Two percent for months occurring during 2016.
                          (iii) Three percent for months occurring during 2017.
                          (iv) Four percent for months occurring during 2018.
                          (v) Five percent for months occurring after 2018.

37 U.S.C. § 403(b)(3).

        Relatedly, in 2018, Congress directed the Secretary of Defense to make payments to

lessors of “covered housing,” which generally includes MHPI projects such as Aurora, of one

percent of the amount calculated under 37 U.S.C. § 403(b)(3)(A)(i) for the area in which the

covered housing exists. National Defense Authorization Act for Fiscal Year 2018, Pub. L. 115-

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91, § 603, Dec. 12, 2017, 131 Stat 1283 (NDAA 2018). The following year, Congress directed

the Secretary to make payments to lessors of five percent as calculated under 37 U.S.C.

§ 403(b)(3)(A)(i).   See National Defense Authorization Act for Fiscal Year 2019, Pub. L. 115-

232, § 606, Aug. 13, 2018, 132 Stat 1636 (NDAA 2019). In essence, qualifying MHPI projects

are paid a percentage of average local housing costs, as determined under 37 U.S.C.

§ 403(b)(3)(A)(i), without the percentage-based reduction of national average costs determined

under subsection 403(b)(3)(A)(ii). In contrast, service members are paid BAH at rates using the

complete formula under section 403(b)(3), i.e. the net result after applying the percentage-based

reduction of national average costs. This means that high cost of housing areas that exceed

national average costs receive larger NDAA payments compared to the national average

reductions calculated in BAH rates paid to service members in that area.

       Most recently, the Secretary was directed to make 2.5 percent payments to qualifying

privatized housing projects using a slightly modified formula, and to make additional payments

to lessors who are responsible for underfunded MHPI projects. See National Defense

Authorization Act For Fiscal Year 2020, Pub. L. No. 116-92, § 3036, Dec. 20, 2019, 133 Stat

1198 (NDAA 2020).

III.   Aurora’s Claim And Denial

       On December 14, 2020, Aurora submitted three certified claims to the Air Force, totaling

$5,239,754. Compl. ¶ 5; Compl. Ex. 1 [Certified Claim] at 1, ECF No. 1-1. Therein, Aurora

argued that the change in statutory method to calculate BAH violated the Lease Agreements, and

thus constituted a breach of contract, breach of the implied duty of good faith and fair dealing,

and a taking without just compensation under the Fifth Amendment.

       On April 7, 2021, the Air Force denied all three claims, concluding that Aurora failed to


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“establish any contractual duty or obligation in the lease agreement to support its breach of

contract claim because the Government is not responsible for paying tenant rent and Aurora

agreed to cap the tenant rent to no more than the BAH.” Compl. Ex. 2 [Final Decision] at 4,

ECF No. 1-2. The Air Force also concluded that Aurora’s claim for breach of the duty of good

faith and fair dealing failed because it was not “connected to a duty clearly imposed by the

contract itself.” Id. In rejecting Aurora’s Fifth Amendment taking claim, the Air Force found

that Aurora “agreed to all the requirements in the lease agreement that form the basis of its

claim.” Id.

       On November 18, 2021, Aurora filed its complaint in this Court, alleging: (1) breach of

contract; (2) breach of the implied duty of good faith and fair dealing; and (3) a Fifth

Amendment taking. Compl. ¶¶ 87–108. Aurora claims damages no less than $4,121,336. Id.

¶¶ 95, 101, 108.

                               SUMMARY OF THE ARGUMENT

       The Court should dismiss Aurora’s complaint because it cannot establish any entitlement

to higher tenant rent in the Lease Agreements as a matter of law. By the Lease Agreements’

plain language, Aurora agreed to cap tenant rent to the BAH rates actually received by service

members, and those BAH rates were to be unilaterally determined annually by DoD. The

Government also expressly disclaimed any responsibility to pay tenant rent—rather, Aurora is

required to operate and maintain housing at “its sole cost and expense.” Aurora ignores the

Lease Agreements’ plain language and attempts to incorporate a new lease term regarding the

method to calculate BAH by arguing that the BAH payments should be “based on the full fair

market value of equivalent housing in the Anchorage area.” See Compl. ¶ 75.

       Moreover, Aurora cannot establish entitlement to higher tenant rent because the Lease


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Agreements do not actually guarantee occupancy of the housing units, do not require the

Government to pay tenant rent to Aurora, and informed Aurora that tenant rent fluctuates

annually and based on each tenant’s pay grade. At bottom, the Lease Agreements’ cap on tenant

rent was designed to protect service members who live on base from paying more for housing—

not to enrich Aurora through direct payments from the Government.

       Because no contractual duty or obligation exists for the Government to pay Aurora

anything, Aurora cannot, as a matter of law, establish any breach of contract in count one or

breach of the implied duty of good faith and fair dealing in count two. Likewise, based on

resolution of the same contractual issue, it cannot establish a Fifth Amendment taking under

count three.

                                            ARGUMENT

I.     Standard Of Review

       In considering a motion to dismiss, the Court must accept as true the complaint’s

undisputed allegations of fact and construe the facts in the light most favorable to the plaintiff.

Hamlet v. United States, 873 F.2d 1414, 1416 (Fed. Cir. 1989); Grayton v. United States, 92 Fed.

Cl. 327, 331 (2010). A motion to dismiss pursuant to RCFC 12(b)(6) will be granted if the facts

asserted in the complaint do not entitle the plaintiff to a legal remedy. Lindsay v. United States,

295 F.3d 1252, 1257 (Fed. Cir. 2002). The complaint must contain “a short and plain statement

of the claim showing that the pleader is entitled to relief.” RCFC 8(a)(2). The pleading standard

set forth in RCFC 8 does not require “detailed factual allegations,” but does demand more than

“unadorned, the-defendant-unlawfully-harmed-me accusation[s].” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). Labels, conclusions, and conclusory allegations are not entitled to the

assumption of truth. See id. at 680; Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).


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Relatedly, the court is not obligated to accept legal conclusions as true, or a legal conclusion

couched as a factual allegation. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

II.       Aurora Cannot Establish Any Contractual Duty Or Obligation In The Lease Agreement
          To Support Its Breach Of Contract Claim Because The United States Is Not Responsible
          For Paying Tenant Rent And Aurora Agreed To Cap Tenant Rent To The BAH Actually
          Received By Service Members

          As a preliminary matter, although Aurora raises three claims in its complaint, they all

revolve around the same question of contract interpretation—whether the Lease Agreements

create any entitlement for Aurora to receive BAH allotments in the form of tenant rent equivalent

to the full fair market value of comparable housing in the Anchorage area. See, e.g., Compl.

¶¶ 12, 14. As set forth below, the United States does not possess a contractual duty or

obligation to pay Aurora any tenant rent under complaint count one, and thus there can be no

breach of contract. And if no duty exists, then Aurora cannot create new duties under the guise

of a breach of the implied duty of good faith and fair dealing in count two. For these same

reasons, no contractual property interest exists for higher tenant rent to support a taking under the

Fifth Amendment in count three.

          To establish breach of contract, the complainant must show the existence of a contract, an

obligation or duty arising out of that contract, a breach of the duty, and damages caused by the

breach.     San Carlos Irrigation & Drainage Dist. v. United States, 877 F.2d 957, 959 (Fed. Cir.

1989). A contract is breached if one of the parties fails to comply with a provision of the

contract in a way that is material. Link v. Dep’t of the Treasury, 51 F.3d 1577, 1582 (Fed. Cir.

1995).

          “Contract interpretation is a question of law.” 1st Home Liquidating Tr. v. United States,

581 F.3d 1350, 1355 (Fed. Cir. 2009). Accordingly, in resolving a motion to dismiss, “the court

must interpret the contract’s provisions to ascertain whether the facts plaintiff alleges would, if

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true, establish a breach of contract.” Bell/Heery v. United States, 739 F.3d 1324, 1330 (Fed. Cir.

2014) (citing S. Cal. Edison v. United States, 58 Fed. Cl. 313, 321 (2003)) (“Contract

interpretation is a matter of law and thus may be addressed by the Court in resolving a motion to

dismiss.”).

        “Contract interpretation begins with the language of the written agreement,” and “if the

provisions are clear and unambiguous, they must be given their plain and ordinary meaning.”

Bell/Heery, 739 F.3d at 1330–31 (internal citations omitted). “[T]he document must be

considered as a whole and interpreted so as to harmonize and give reasonable meaning to all of

its parts.” NVT Techs., Inc. v. United States, 370 F.3d 1153, 1159 (Fed. Cir. 2004). “An

interpretation that gives meaning to all parts of the contract is to be preferred over one that leaves

a portion of the contract useless, inexplicable, void, or superfluous.” Id.

        A.     In The Lease Agreements The Government Expressly Disclaimed Any Duty Or
               Obligation To Pay Tenant Rent, And Tenant Rent Is Capped At Each Service
               Member’s BAH

        In its complaint, Aurora admits that it must cap the amount of rent that it can charge

service members for housing at an amount equal to each service member’s BAH, and that this is

a material term of the Lease Agreement. Compl. ¶¶ 25, 39, 51, 53. It then alleges that the

“Government’s unilateral decision to reduce the BAH to less than the fair market value of

housing in the Anchorage area” constitutes a material breach of contract. Id. ¶ 94. Aurora

focuses on the resulting impact on BAH rates after Congress amended 37 U.S.C. § 403,

essentially arguing that the changes reduced its expectation interest under the Lease Agreements.

See generally Compl. Thus, while admitting that it cannot charge service members more than

they receive in BAH, Aurora inexplicably claims that the United States is now liable to pay for

higher tenant rents based upon the fair market value of comparable Anchorage housing,


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irrespective of the BAH actually received by service members.

       To begin, the Lease Agreements repeatedly state that the Government is not responsible

for paying Aurora anything. See Aurora I Amended Lease ¶ 19.3, Aurora II Amended Lease

¶ 19.3, Aurora III Lease ¶ 19.3 (Aurora must operate and maintain the rental housing

development on JBER “at its sole cost and expense.”). Likewise, in the incorporated Operating

Agreement, Aurora “shall operate and maintain the [rental housing development] at no expense

to the Government.” Aurora I Operating Agreement ¶ 2(b); Aurora II Operating Agreement

¶ 2(b). “The Government shall have no liability for costs associated with the operation and

maintenance of the [housing], or for any tenant defaults.” Id.

       Other provisions further support the lack of Government obligations in the Lease

Agreements. Notably, the Aurora I and Aurora II Amended Leases state that “the Government is

not guaranteeing the occupancy of any Housing Units” or “requir[ing] military personnel and

dependents stationed at Elmendorf AFB or elsewhere to rent Housing Units.” Aurora I

Amended Lease ¶ 19.4; Aurora II Amended Lease ¶ 19.4. The Aurora III Lease contains a

similar provision, which provides: “[Aurora] acknowledges and agrees” that service members

“do not have an obligation to reside in privatized housing,” that “the Government does not

require or guarantee occupancy of privatized housing” by service members, and that “the

Government does not guarantee occupancy of the units.” Aurora III Lease ¶ 19.4. Despite this

clear and repeated language disclaiming any obligation on the Government to pay tenant rent or

even guarantee occupancy, Aurora asks this Court to require the Government to pay tenant rent.

This language alone is sufficient for the Court to find that Aurora fails to state a claim for relief

as a matter of law, as the Court did in United Communities, LLC v. United States, 154 Fed. Cl.




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676, 681, reconsideration denied, 157 Fed. Cl. 19 (2021). 6

        In that case, United Communities also argued that a statutory change in the method to

calculate BAH violated a nearly identical 50-year lease agreement governing the maintenance,

construction, and renovation of privatized military housing at McGuire AFB-Fort Dix, and thus

constituted a breach of contract, breach of the implied duty of good faith and fair dealing, and a

taking without just compensation under the Fifth Amendment. 154 Fed. Cl. at 678, 680. In

dismissing United Communities’ contract claims, the Court quoted many of the same contract

provisions that appear in these Lease Agreements and concluded:

                 [T]he express terms of the contract documents repeatedly make
                 clear that defendant is not liable to plaintiff for any expected
                 payments plaintiff does not receive. See, e.g., ECF No. 8-1 at 44
                 (stating that service members are not required to rent from
                 plaintiff, and that defendant ‘is not obligated to pay rent for any
                 housing units’); id. (stating that plaintiff agreed to operate and
                 maintain the housing ‘at its sole cost and expense’); id. at 84
                 (stating that plaintiff agreed to ‘operate and maintain the Leased
                 Premises and the Leased Premises Improvements at no expense to
                 [defendant]’); id. at 84, 89 (stating that plaintiff ‘shall collect rents
                 from Target Tenants,’ and that rent ‘will not exceed the [BAH] of
                 the military member’s grade designated for that unit (less a utility
                 allowance for gas and electricity)’); id. at 84 (stating that defendant
                 ‘shall in no case be responsible for or pay or reimburse [plaintiff]
                 for costs associated with the operation and maintenance of the
                 Project, or for any tenant defaults’).

Id. at 681–82.

        Despite the decision in United Communities and repeated disclaimers of Government

responsibility to pay Aurora anything, Aurora attempts to reframe service member allotment of


        6
          The United States Court of Federal Claims denied United Communities’ motion for reconsideration on
November 18, 2021. Opinion and Order, United Communities v. United States, No. 20-1220C (Fed. Cl. Nov. 18,
2021), ECF No. 21. Accordingly, United Communities had 60 days from that date to file notice of appeal in the
United States Court of Appeals for the Federal Circuit. On February 16, 2022, almost a month after the 60-day
deadline elapsed, United Communities filed an untimely motion in the Court of Federal Claims seeking a 30-day
extension of time to file a notice of appeal. See id. at ECF No. 22. That same day, United Communities also filed
an untimely notice of appeal in the Federal Circuit. The Court of Federal Claims has stayed briefing on the motion
as the matter was transmitted to the Federal Circuit. Id. at ECF No. 25.
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BAH payments to Aurora as somehow being a payment by the Government. See, e.g., Compl.

¶ 76 (“Contractually, the Aurora Entities are unable to charge military members for housing;

instead, the only consideration the Aurora Entities receive under the Contracts is the

Government’s BAH payments[,] which go directly to the Aurora Entities.”). But BAH is an

entitlement that belongs to the service members—a fact that Aurora acknowledges in other

portions of its complaint. See Compl. ¶ 18 (“The BAH is a housing benefit provided to U.S.-

based military members who do not live in the barracks, including those who decide to live off

base or in privatized military housing.”).

       By entering into a lease with Aurora, service members are required to allot their BAH

payments to Aurora. Aurora I Military Resident Lease ¶ 4; Aurora II Military Resident Lease

¶ 4; Aurora III Military Resident Lease ¶ 4.1. This is consistent with the provisions above that

the Government is not liable for rent payments; and that Aurora “shall collect from tenants all

rents, damage deposits, and other fees that are permissible under the Lease.” Aurora I Operating

Agreement ¶ 2(b); Aurora II Operating Agreement ¶ 2(b). Thus, Aurora’s suggestion that the

Government is responsible for rental payments is a legal conclusion that must be rejected. See

Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

       Next, Aurora’s admission that it cannot charge service members a monthly housing rent

more than service members’ BAH, Compl. ¶¶ 25, 39, 51, 53, is also an independently sufficient

basis for the Court to find that Aurora fails to state a claim for relief. In essence, under the guise

of changes to 37 U.S.C. § 403, Aurora wants to be paid tenant rents at a higher rate than service

members actually receive in BAH despite its admission and despite the Lease Agreements’ plain

language. The Lease Agreements and the incorporated Operating Agreement again make

multiple references to Target or Referral Rent, which inextricably links the monthly housing rent


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to each service members’ monthly BAH (at the with dependents rate), less the pre-determined

utility charge. Aurora I Amended Lease ¶ 19.5 (defining Referral Rent in relation to BAH);

Aurora II Amended Lease ¶ 19.5 (same); Aurora III Lease ¶ 34.2 (defining Target Rent in

relation to BAH); see also Aurora I Rental Rate Management Plan at 1 (capping rental rates “at

the applicable BAH for the tenant’s grade minus a utility allowance” and providing for the

update of a tenant’s rental agreement and lease based upon “each BAH change”); Aurora II

Operating Agreement at 3 (stating that “rental rates correspond to applicable unrestricted BAH

‘with dependent’ rates of active duty military minus utilities”); Aurora III Military Lease ¶ 4.1

(obligating the tenant “to pay as monthly rent an amount equal to the ranking military member’s

[BAH] at the with dependents rate”).

       Numerous other provisions reinforce this requirement that tenant rent is tied to each

service member’s pay grade, and that rates will vary annually or based on other circumstances.

For example, BAH updates will be made annually “with cost of living adjustments and as

resident ranks change.” Aurora I Operating Agreement at 9; Aurora II Operating Agreement at 3

(same); see also Aurora III Rental Rate Management Plan at 3 (“Rental rates for Target Tenants

will automatically change as annual BAH rates change and as the military member’s rank and

BAH entitlements change). Service members may also elect to “rent-up” by choosing a unit

designated for a higher pay grade, but they are required to sign a statement acknowledging that

that they will pay an amount out-of-pocket, i.e. above their current pay grade and BAH, for that

purpose.    See e.g., Aurora III Rental Rate Management Plan at 4.

       Further, Aurora’s reference to a “reduction” in its alleged entitlement under the Lease

Agreements is a misnomer. See, e.g., Compl. ¶ 100. Although a percentage-based reduction

applies in the calculation of BAH, generally, rates have continued to rise annually:


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                Beginning in 2015, DOD began reducing the basic allowance for
                housing payments relative to the Defense Travel Management
                Office’s calculations of market rate rents and utilities. According
                to Defense Travel Management Office officials, basic allowance
                for housing payments are not necessarily decreasing from year to
                year. Instead, the average basic allowance for housing payment
                across the geographic areas has risen due to increases in market
                rate calculations, even as basic allowance for housing payments
                have been reduced relative to these calculations.

GAO Report 18-218, Military Housing Privatization, DOD Should Take Steps to Improve

Monitoring, Reporting, and Risk Assessment, at 2 n.3 (March 2018), available at

https://www.gao.gov/assets/700/690621.pdf. Indeed, this is confirmed in reviewing publicly

available data for JBER; since the parties executed the first lease agreement in 2001, the monthly

BAH with dependents rates have fluctuated up and down from year to year, and generally have

increased over time as shown by these pay grade examples 7:

                                Year       E-1 to E-4        E-7          O-4
                                2001          $980          $1,277       $1,530
                                2002          $980          $1,395       $1,568
                                2003          $980          $1,433       $1,790
                                2004         $1,107         $1,560       $1,923
                                2005         $1,136         $1,624       $1,982
                                2006         $1,256         $1756        $2079
                                2007         $1,525         $1,758       $2,115
                                2008         $1,433         $1,804       $2,161
                                2009         $1,565         $2,029       $2,394
                                2010         $1,479         $1,989       $2,664
                                2011         $1,503         $2,055       $2,652
                                2012         $1,578         $2,139       $2,670
                                2013         $1,698         $2,238       $2,808
                                2014         $1,542         $2,274       $2,835
                                2015         $1,734         $2,226       $2,697
                                2016         $1,707         $2,310       $2,856
                                2017         $1,686         $2,352       $2,688

        7
          The Defense Travel Management Office maintains BAH rate data across all localities and pay grades,
dating back to 1995. See https://www.defensetravel.dod.mil/site/pdcFiles.cfm?dir=/Allowances/BAH/PDF/. Data is
searchable under the “BAH” folder by year and for either “with” or “without” dependents rates. BAH rates for
service members stationed at JBER can be found under MHA code “AK404”and MHA location “Anchorage, AK.”
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                                Year   E-1 to E-4        E-7       O-4
                                2018     $1,611         $2,238    $2,661
                                2019     $1,626         $2,193    $2,682
                                2020     $1,611         $2,190    $2,700
                                2021     $1,707         $2,253    $2,724

Aurora cannot have a claim simply because the BAH rates, and therefore its rental income, are

not as high as it would like.

        Based on the foregoing, the Lease Agreements clearly state that the Government is not

responsible for paying tenant rent to Aurora, and that Aurora cannot charge tenant rent that

exceeds each service member’s BAH, which is subject to change. See, e.g., Aurora III Rental

Rate Management Plan at 3 (“Rental rates for Target Tenants will automatically change as

annual BAH rates change and as the military member’s rank and BAH entitlements change).

Consequently, because Aurora cannot establish the existence of a contractual duty or obligation

for payment, its claims fail as a matter of law.

        B.      Aurora Improperly Attempts To Read-In A New Lease Term Regarding The
                Method To Calculate BAH That Was Never Incorporated Into The Lease
                Agreement

        Aurora asserts that, at the time it contracted with the Government, the BAH “was

statutorily defined to fully cover the cost of military family housing,” Compl. ¶ 12, thereby

entitling Aurora to receive BAH payments equal to the full fair market price of equivalent

housing rentals near JBER for a 50-year period, id. ¶¶ 82, 84. In doing so, Aurora attempts to

read into the Lease Agreements a method of calculating BAH that was never incorporated in the

agreements.

        As discussed above, prior to 2015, the BAH statute generally required the Secretary of

Defense to determine the costs of adequate housing in a military housing area for all members of

the uniformed services based on “the costs of adequate housing for civilians with comparable

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income levels in the same area” and historical data regarding the national average monthly

housing costs for the two preceding years. See 37 U.S.C § 403 (2000-2014). However, nothing

in the Lease Agreements incorporate this method of calculating BAH. To this point, Aurora fails

to cite any provisions in the Lease Agreements that explicitly define BAH as “the full fair market

value of equivalent housing in the Anchorage area.” Compl. ¶ 75. Instead, Aurora asks this

Court to conclude that it is entitled to BAH payments based on the full fair market value of

comparable housing merely because:

               [T]he Government noted that rental rates for service members
               would be set at the BAH, which was defined as “[t]he sum allotted
               to each service member to cover the cost of housing, including
               utilities and personal property insurance. The respective amount
               corresponds with the service member’s rank and dependent status.
               Refer to Internet Web site http://www.military.com/Resources/
               ResourcesContent/0,13964,30825,00.html for additional
               information.” (Emphasis added)

Compl. ¶ 53 (citing Aurora I Amended Lease ¶ 19.5; Aurora II Amended Lease ¶ 19.5). Aurora

appears to argue that “cover,” emphasized above, is synonymous with “the full fair market value

of equivalent housing in the Anchorage area,” which, in turn, references the pre-2015 BAH

calculation. This leap in logic is neither supported by the Lease Agreements nor precedent

governing contract interpretation.

       As previously discussed, the Aurora I and Aurora II Amended Leases define BAH as

“[t]he sum allotted to each service member to cover the cost of housing, including utilities and

personal property insurance.” Aurora I Amended Lease ¶ 19.5; Aurora II Amended Lease

¶ 19.5. Similarly, the Aurora III Lease defines BAH as “the entitlement of [active duty]

member[s] for the cost of housing, including utilities and personal property insurance, pursuant

to 37 U.S.C. Chapter 7, Section 403.” Aurora III Lease ¶ 34.2. Conspicuously absent from the

BAH definitions is any mention of “full fair market value,” which Aurora claims it is entitled to.

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       The Lease Agreements’ BAH definitions neither identify how BAH will be calculated

nor incorporates any BAH calculation into the agreements. To be clear, the Aurora I and Aurora

II Amended Leases do not reference the pre-2015 BAH statute, which provided a method by

which BAH was determined. And although the Aurora III Lease makes one reference to the pre-

2015 BAH statute, the lease does not expressly incorporate the pre-2015 method for calculating

BAH. See Aurora III Lease ¶ 34.2 (referencing 37 U.S.C. § 403). This passing reference to

§ 403 cannot be reasonably viewed as explicitly incorporating the pre-2015 BAH calculation.

       Considering general principles of contract interpretation, the Federal Circuit “has been

reluctant to find that statutory or regulatory provisions are incorporated into a contract with the

government unless the contract explicitly provides for their incorporation.” St. Christopher

Assocs., L.P. v. United States, 511 F.3d 1376, 1384 (Fed. Cir. 2008) (citing Smithson v. United

States, 847 F.2d 791, 794 (Fed. Cir. 1988). For example, Smithson warned that “wholesale

incorporation of regulations into a contract would allow the contracting party to choose among a

multitude of regulations as to which he could claim a contract breach—and thus [a] wholly new

ground of obligation would be summarily created by mere implication.” Id. (internal quotations

omitted). Indeed, “[i]n suing for a breach of contract plaintiff must rely on the express terms of

the contract and cannot, as it has attempted to do here, import into the agreement terms outside

of those expressly contained in the agreement.” Texas v. United States, 537 F.2d 466, 471 (Ct.

Cl. 1976); see also Precision Pine & Timber, Inc. v. United States, 596 F.3d 817, 826 (Fed. Cir.

2010) (“In the absence of explicit contract language incorporating the [Endangered Species Act

(ESA)], we decline to create a whole new set of obligations—compliance with the multitude of

substantive and procedural requirements comprising the ESA—by mere implication.” (citing St.

Christopher, 511 F.3d at 1384)). Incorporation by reference is a question of law. Northrop


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Grumman Info. Tech., Inc. v. United States, 535 F.3d 1339, 1343 (Fed. Cir. 2008) (citations

omitted). Although no “magic words” are required,

                  [T]the language used in a contract to incorporate extrinsic material
                  by reference must explicitly, or at least precisely, identify the
                  written material being incorporated and must clearly communicate
                  that the purpose of the reference is to incorporate the referenced
                  material into the contract (rather than merely to acknowledge that
                  the referenced material is relevant to the contract, e.g., as
                  background law or negotiating history).

Id. at 1345–46.

       At best, the reference to 37 U.S.C. § 403 is only provided for background information,

making no mention of how BAH is calculated under the statute, and informs the parties that DoD

would unilaterally set the values annually. In the absence of contract provisions incorporating

full fair market value as the method by which BAH is calculated, Aurora cannot ask this Court to

read such a provision into the Lease Agreements. And because Aurora cannot show such a

requirement was made part of the Lease Agreements, this provides the Court with yet another

reason to dismiss the complaint. United Communities’ breach of contract claim failed for this

reason, and so too must Aurora’s claim. United Communities, 154 Fed. Cl. at 683 (holding that

“because plaintiff has not sufficiently alleged a duty on the part of defendant with regard to the

method required for calculating BAH, its breach of contract claim must be dismissed”).

       In contrast, the requirement that Aurora not charge more in tenant rent than each service

member receives in BAH is repeated throughout the Lease Agreements, and there is no dispute

that Aurora is obligated to comply with it.     Allowing Aurora to equate a BAH calculation to

“full fair market value” of comparable rentals in the area, see Compl. ¶ 75, would not comport

with this agreed-upon requirement, and does not harmonize and afford reasonable meaning to the

Lease Agreements’ numerous requirements for Referral or Target Rent. See NVT Techs, 370


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F.3d at 1159 (“[T]he document must be considered as a whole and interpreted so as to harmonize

and give reasonable meaning to all of its parts.”).

       In sum, Aurora got exactly what it bargained for under the terms of the Lease

Agreements. In exchange for obtaining a 50-year lease of Government property virtually for

free, and the ownership of the Government’s existing inventory of military family housing,

Aurora also agreed to build, renovate, operate, and manage rental housing for service members,

subject to the Lease Agreements’ many detailed terms, and at its sole cost and expense. Aurora

may not be happy with its rental income from service member BAH—despite also now receiving

congressionally mandated NDAA payments to offset a percentage of the BAH reductions—but

the Lease Agreements do not support its claims for relief in this case as a matter of law. The

Court should dismiss the complaint.

III.   Aurora Cannot Establish A Breach Of The Implied Duty Of Good Faith And Fair Dealing
       By Expanding Non-Existent Duties

       Although every contract imposes upon each party a duty of good faith and fair dealing in

its performance and enforcement, that duty depends in part on what a contract promises or

disclaims. See Metcalf Const. Co. v. United States, 742 F.3d 984, 990–91 (Fed. Cir. 2014)

(citing Precision Pine, 596 F.3d at 830). “The covenant of good faith and fair dealing . . .

imposes obligations on both contracting parties that include the duty not to interfere with the

other party’s performance and not to act so as to destroy the reasonable expectations of the other

party regarding the fruits of the contract.” Id. at 991 (quoting Centex Corp. v. United States, 395

F.3d 1283, 1304 (Fed. Cir. 2005)). However, the “implied duty of good faith and fair dealing

cannot expand a party’s contractual duties beyond those in the express contract or create duties

inconsistent with the contract’s provisions.” Id. (citing Precision Pine, 596 F.3d at 831). See

also Bell/Heery, 739 F.3d at 1335 (The “implied duties of good faith and fair dealing cannot
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form the basis for wholly new contract terms”) (internal citation omitted).

       As demonstrated above, Aurora cannot establish any contractual duty or obligation of the

Government to pay any tenant rent to Aurora, and tenant rent is capped at each service member’s

BAH, not the higher rates that Aurora advances here. See, e.g., Aurora I Amended Lease ¶ 19.5;

Aurora II Amended Lease ¶ 19.5 (defining Referral Rent as equal to service members’ BAH);

see also Compl. ¶ 51 (acknowledging that Aurora is prohibited from asking service members “to

pay more than the BAH in rent”). And without contract terms supporting the Government’s

obligation to pay tenant rent or higher tenant rent equal to the fair market value of adequate

housing in a particular area, Aurora cannot create duties inconsistent with the Lease Agreements

or create wholly new contract terms. See United Communities, 154 Fed. Cl. at 683 (concluding

that plaintiff’s claim for breach of the implied duty of good faith and fair dealing fails as it would

impermissibly “‘expand [defendant’s] contractual duties beyond those in the express contract’”)

(quoting Precision Pine, 596 F.3d at 831).

       Aurora’s claims are based on the same allegations that the Government breached its

obligation by “unilaterally reducing the BAH, thus reducing the amount that the Aurora Entities

received as rent for its housing units.” Compl. ¶ 99. Because the contract does not create such

an obligation, count two fails and must be dismissed.

IV.    Aurora Cannot Establish A Fifth Amendment Taking Because It Agreed To All The
       Requirements In The Lease Agreement That Form The Basis Of Its Claim

       Finally, Aurora raises a third count, alleging a taking under the Fifth Amendment,

Compl. ¶¶ 102–108. The Fifth Amendment of the U.S. Constitution provides that “private

property [shall not] be taken for public use, without just compensation.” U.S. Const. amend. V.

A takings claim is evaluated under a two-part analysis. “First, the court determines whether the

claimant has identified a cognizable Fifth Amendment property interest that is asserted to be the
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subject of the taking. Second, if the court concludes that a cognizable property interest exists, it

determines whether that property interest was ‘taken.’” Acceptance Insurance Cos., Inc. v.

United States, 583 F.3d 849, 854 (Fed. Cir. 2009) (citations omitted).

       In some instances, a property interest in contract rights can be the basis of a cognizable

property interest under the Fifth Amendment. Cienega Gardens v. United States, 331 F.3d 1319,

1329 (Fed. Cir. 2003) (citing Lynch v. United States, 292 U.S. 571, 579 (1934) (“The Fifth

Amendment commands that property be not taken without making just compensation. Valid

contracts are property, whether the obligor be a private individual, a municipality, a state, or the

United States.”)).

       However, “to effect a taking of a contractual right when performance has been prevented,

the government must substantially take away the right to damages in the event of a breach.”

Piszel v. United States, 833 F.3d 1366, 1377 (Fed. Cir. 2016). Otherwise, “when the government

itself breaches a contract, a party must seek compensation from the government in contract rather

than under a takings claim.” Id. at 1376; see also A&D Auto Sales, Inc. v. United States, 748

F.3d 1142, 1156 (Fed. Cir. 2014) (explaining that takings liability is redundant when the

Government is subject to contractual remedies); St. Christopher, 511 F.3d at 1385 (“In general,

takings claims do not arise under a government contract because . . . the government is acting in

its proprietary rather than its sovereign capacity, and because remedies are provided by the

contract.”); Allegre Villa v. United States, 60 Fed. Cl. 11, 18 (2004) (citing Sun Oil Co. v. United

States, 572 F.2d 786, 818 (1978) (holding that “the concept of a taking as a compensable claim

theory has limited application to the relative rights of party litigants when those rights have been

voluntarily created by contract”)).

       Here, the crux of Aurora’s taking claim is as follows:


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               Under the Contracts, the Aurora Entities own and operate 3,262
               units of military family housing at JBER, the largest military base
               in Alaska. Under the Contracts, the Aurora Entities are entitled to
               receive payments from the Government for rental charges to
               military service personnel occupying these housing units based on
               the full fair market value of adequate housing in the area, as
               represented by the BAH.

Compl. ¶¶ 105–106. Although Aurora asserts that the Government is depriving Aurora of its

property rights “by reducing the BAH below the full fair market cost of adequate housing in the

area,” id. ¶ 107, Aurora’s taking claim stems from its contractual obligations under the Lease

Agreements. Thus, Aurora can offer no basis for its taking claim regarding its lease interests that

are not already constrained by the same terms of those leases. See Century Expl. New Orleans,

Inc. v. United States, 110 Fed. Cl. 148, 182 n.32 (2013), aff’d, 745 F.3d 1168 (Fed. Cir. 2014)

(dismissing plaintiff’s breach of contract claim and again noting disposition of that claim was

“critically important” to the court’s consideration of the taking claim). As such, the plaintiffs’

taking claim in count three, like the other counts of the complaint, must be dismissed.

                                          CONCLUSION

       For these reasons, we respectfully request that the Court dismiss Aurora’s complaint for

failure to state a claim upon which relief can be granted.

                                                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on 25th day of February 2022, a copy of the foregoing

“DEFENDANT’S MOTION TO DISMISS” was filed electronically. I understand that notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.




                                                       /s/ Ebonie I. Branch
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